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                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA



IP SOLUTIONS INC,
                                                             No. C 07-02774 EMC
               Plaintiff (s),
         v.                                                  ORDER SETTING INITIAL CASE
                                                             MANAGEMENT CONFERENCE AND
BANK OF AMERICA,                                             ADR DEADLINES
               Defendant(s).



          IT IS HEREBY ORDERED that this action is assigned to the Honorable Edward M. Chen.
 When serving the complaint or notice of removal, the plaintiff or removing defendant must serve on all
 other parties a copy of this order, the handbook entitled ADispute Resolution Procedures in the Northern
 District of California@ , the Notice of Assignment of Case to a United States Magistrate Judge for
 Trial, and all other documents specified in Civil Local Rule 4-2. Counsel must comply with the case
 schedule listed below unless the Court otherwise orders.

          IT IS FURTHER ORDERED that this action is assigned to the Alternative Dispute Resolution
 (ADR) Multi-Option Program governed by ADR Local Rule 3. Counsel and clients shall familiarize
 themselves with that rule and with the handbook entitled ADispute Resolution Procedures in the Northern
 District of California.@

                    CASE SCHEDULE -ADR MULTI-OPTION PROGRAM

  Date              Event                                                          Governing Rule

  5/25/2007         Complaint filed

  8/8/2007          Last day to:                                                   FRCivP_26(f) & ADR
                    $ meet and confer re: initial disclosures, early settlement,   L.R.3-5
                       ADR process selection, and discovery plan

                    $ file Joint ADR Certification with Stipulation to ADR         Civil_L.R. 16-8
                      Process or Notice of Need for ADR Phone Conference

  8/22/2007         Last day to file Rule 26(f) Report, complete initial           FRCivP 26(a) (1)
                    disclosures or state objection in Rule 26(f) Report and file   Civil _L.R . 16-9
                    Case Management Statement per attached Standing Order
                    re Contents of Joint Case Management Statement (also
                    available at http://www.cand.uscourts.gov)

  8/29/2007         INITIAL CASE MANAGEMENT CONFERENCE                             Civil _L.R. 16-10
                    (CMC) in Courtroom C,15th Floor,SF at 1:30 PM
